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 6

 7               IN THE UNITED STATES DISTRICT COURT FOR THE

 8                       EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,     )
10                                 )         CR. NO. 10-cr-00259-JAM
                 Plaintiff,        )
11                                 )         GOVERNMENT'S MOTION TO
          v.                       )         DISMISS INDICTMENT AS TO
12                                 )         SOHEIR GIRGIS
     ATIF HENAN,                   )
13   ATEF SHEHATA,                 )
     SAMY GIRGIS, and              )
14   SOHEIR GIRGIS,                )
                                   )
15               Defendants.       )
     ______________________________)
16

17             Pursuant to Rule 48(a) of the Federal Rules of Criminal

18   Procedure, the United States respectfully moves this court for an

19   order dismissing all counts of the above-captioned indictment

20   filed on July 6, 2010, as to Soheir Girgis only.

21

22   DATED: July 23, 2012

23

24                                           BENJAMIN B. WAGNER
                                             United States Attorney
25

26                                       By:/s/ Peter M. Williams
                                            PETER M. WILLIAMS
27                                          Special Assistant U.S. Attorney

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 7               IN THE UNITED STATES DISTRICT COURT FOR THE

 8                       EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,     )
10                                 )               CR. NO. 10-cr-00259-JAM
                 Plaintiff,        )
11                                 )               ORDER DISMISSING
          v.                       )               INDICTMENT AS TO
12                                 )               SOHEIR GIRGIS ONLY
     ATIF HENAN,                   )
13   ATEF SHEHATA,                 )
     SAMY GIRGIS, and              )
14   SOHEIR GIRGIS,                )
                                   )
15               Defendants.       )
     ______________________________)
16

17             Based on the the government's motion to dismiss the

18   indictment against SOHEIR GIRGIS,

19             IT IS HEREBY ORDERED that the above-captioned Indictment

20   be and hereby is dismissed as to SOHEIR GIRIS only.

21

22   DATED: 7/24/2012

23                                     /s/ John A. Mendez
                                       HON. JOHN A. MENDEZ
24                                     United States District Court Judge

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